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             Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 SMARTMATIC USA CORP.,
 SMARTMATIC HOLDING B.V., AND
 SGO CORPORATION LIMITED,

                    Plaintiffs,

        v.                                           Civil Action No. 1:21-cv-02900-CJN

 HERRING NETWORKS, INC., D/B/A
 ONE AMERICA NEWS NETWORK,

                    Defendant.

           DECLARATION OF CAITLIN A. KOVACS IN SUPPORT OF
     PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR RELIEF WITH
     RESPECT TO ALLEGED VIOLATIONS OF THE PROTECTIVE ORDER AND
    SUBMISSION OF MATERIALS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
                OANN’S MOTION FOR SUMMARY JUDGMENT

       I, Caitlin A. Kovacs, make this declaration pursuant to 28 U.S.C. § 1746. I hereby declare

under penalty of perjury that the following is true and correct:

       1.      I am an attorney at Benesch, Friedlander, Coplan & Aronoff LLP and counsel for

Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation

(collectively, “Smartmatic”) in this action. As such, I am fully familiar with the facts and

circumstances of the matters stated in this declaration.

OANN’s Production

       2.      In the Fall of 2023, Smartmatic discovered that OANN’s production included

several documents evidencing potential criminal activity.

       3.      Exhibit B (OAN_SMMT_01018329) is a true and accurate copy of a document

produced by OANN.



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       4.     Exhibit C (OAN_SMMT_00828464 – OAN_SMMT_00828465) is a true and

accurate copy of a document produced by OANN.

       5.     Exhibit D (OAN_SMMT_00942992) is a true and accurate copy of a document

produced by OANN. This same document was Exhibit CC to Smartmatic’s Rule 56(d) Response

to OANN’s Motion for Partial Summary Judgment. See Dkt. 155-1, Ex. CC. This document was

originally produced in native excel format and included multiple tabs of information (“Stolen

Passwords”). For purposes of this filing, Smartmatic converted the document to PDF and only

included relevant information.                         REDACTED

    REDACTED           The Stolen Passwords document includes personal information about

Smartmatic employees and other individuals.

       6.     Exhibit E (OAN_SMMT_01018082) is a true and accurate copy of a document

produced by OANN.

       7.     Exhibit F (OAN_SMMT_01018081) is a true and accurate copy of a document

produced by OANN.

       8.     Exhibit G (OAN_SMMT_01011099 – OAN_SMMT_0101100) is a true and

accurate copy of a document produced by OANN.

       9.     OANN produced Exhibits B, C, D, E, F, and G several months ago. OANN has

never claimed any of these documents are privileged.

       10.    Exhibit H (OAN_SMMT_00996295) is a true and accurate copy of a document

produced by OANN. This document is the email exchange that OANN attempted to claw back.

Smartmatic submitted this communication in camera on December 28, 2023 as Ex. BB, along with

the Stolen Passwords, which was designated Ex. CC.


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Smartmatic Contacts OANN About Deficiencies

       11.     Upon reviewing Exhibits B, C, D, E, F, G, and H, Smartmatic realized OANN

must have in its possessions other documents related to the Stolen Passwords.

       12.     Exhibit H contains Jane Doe’s               REDACTED                 OANN did not

independently produce       REDACTED           Jane Doe.

       13.     Exhibit I is a true and accurate copy of a document Mike Lindell produced to

OANN in Smartmatic v. Mike Lindell & My Pillow Inc., United States District Court for the

Northern District of Minnesota, 22-cv-0098-WMW-JFD. To Smartmatic’s knowledge, OANN has

never claimed that this is a privileged exchange, nor has it objected to Mike Lindell’s production

of this document. OANN refuses to produce this document in Smartmatic’s litigation against

OANN.

       14.     Exhibit J is a true and accurate copy of the letter I sent to Carl Butzer, counsel to

OANN, on October 24, 2023.

       15.     Exhibit K is a true and accurate copy of the letter Carl Butzer sent to me on

November 5, 2023.

       16.     Exhibit L is a true and accurate copy of the letter Carl Butzer sent to Smartmatic

counsel Olivia Sullivan on November 20, 2023.

       17.     On November 30, 2023, I asked OANN to meet and confer about the basis on which

it claimed that OAN_SMMT_0099625-97 is privileged. Smartmatic was already familiar with the

document OANN attempted to claw back in its November 20, 2023 letter, since it had reviewed it

so closely and repeatedly in connection with its own prior deficiency letter from October.




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Smartmatic could not conceive of any legitimate basis on which OANN could claim the document

was in any way privileged.

December 1, 2023 Meet and Confer

        18.     On December 1, 2023, Smartmatic and OANN met and conferred regarding

OANN’s claw back attempt.

                                                                                          REDACTED
        19.     Smartmatic asked OANN to explain the basis on which it claimed
 REDACTED                                                                                 REDACTED
            correspondence with Jane Doe was privileged. OANN confirmed that Jane Doe

              REDACTED              .

        20.     OANN claimed that since both Jane Doe                    REDACTED

   REDACTED         , the communication was sent pursuant to a joint defense privilege. Smartmatic

asked OANN whether there was any writing evidencing this alleged joint defense agreement, and

whether OANN would produce it if so. OANN stated that it would investigate whether there was

a joint defense agreement. To date, nothing has been produced.

        21.     Smartmatic asked OANN to produce a privilege log in the December 1, 2023 meet

and confer. Smartmatic also asked for a written basis for OANN’s contention that the emails

between       REDACTED    Jane Doe were privileged.

        22.     Smartmatic explained to OANN that the parties’ Protective Order only allows

parties to claw back Protected Information. The exchange at issue is not Protected Information

under the parties’ Protective Order. Because the face of the document at issue made clear that it

was not otherwise protected, OANN had no right to claw it back under the Protective Order, and

Smartmatic had no obligation to destroy it. Smartmatic told OANN it was willing to evaluate




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OANN’s privilege log and any joint defense agreement OANN may have had with Jane Doe to

see if there could be any legitimate basis for OANN’s clawback request.

OANN’s Privilege Log

       23.     OANN first provided Smartmatic a copy of its privilege log on December 8, 2023.

Exhibit A is a true and accurate copy of OANN’s privilege log. OANN did not mark the privilege

log confidential.

       24.     OANN’s Privilege log contained an entry                   REDACTED


which was described as:                                   REDACTED

                                            REDACTED

   REDACTED


       25.     OANN’s privilege log included an entry from       REDACTED      . This entry involves

a communication from                                     REDACTED

                    REDACTED                         The log described this email as being sent “in

preparation for litigation.”

       26.     Other entries suggest that                        REDACTED

                                            REDACTED

                                       REDACTED                                             OANN

is withholding this email based on joint defense privilege.

       27.     On December 22, Smartmatic asked OANN to meet and confer about issues with

OANN’s privilege log.

       28.     On December 22, Smartmatic informed OANN that it finished reviewing

Smartmatic’s privilege log and finalized its position that     REDACTED        dissemination of the

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Stolen Passwords to Jane Doe                REDACTED                   were in no way privileged.

Exhibit O is a true and accurate copy of the parties email correspondence regarding

OAN_SMMT_00996295-97.

        29.    OANN did not respond to Smartmatic’s requests until January 2024.

Smartmatic’s 56(d) Response

        30.    Smartmatic’s response to OANN’s partial motion for summary judgment

(“Response”) cites              REDACTED                  (Exhibit H) and the Stolen Passwords

(Exhibit D) as evidence of actual malice and potential criminal activity. Exhibit BB of

Smartmatic’s Response is a copy of the email, attached to this Motion as Exhibit H. Exhibit CC

of Smartmatic’s Response is a copy of the Stolen Passwords, attached to this Motion as Exhibit D.

        31.    As a professional courtesy, and given the sensitive nature of the documents,

Smartmatic was careful not to describe the documents in detail within the publicly filed Response.

Smartmatic was also careful not to submit either the communication or the Stolen Passwords via

the electronic filing system. Smartmatic submitted both documents to the Court in camera, four

days after notifying OANN of its plan to do so.

        32.    Exhibit R is a true and accurate copy of my email to OANN on December 24,

2023.

        33.    Exhibit R also includes Charles Babcock’s Response to my email on December 24,

2023.

        34.    OANN did not object to Smartmatic’s plan to submit Ex. BB and Ex. CC to the

Response to the Court.




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       35.      On December 28, 2023, I sent the Court an email delivering Exhibit BB and CC for

in camera review. Exhibit S is a true and accurate copy of the email I sent to Judge Nichols on

December 28, 2023. Exhibit T is a true and accurate copy of a letter I wrote the Court that was

attached to my email. I also attached Exhibit BB and Exhibit CC to Smartmatic’s Response.

       36.      OANN did not respond to this email. To Smartmatic’s knowledge, OANN has

never asked the Court to refrain from reviewing Exhibit BB.

January 10, 2024 Meet and Confer

       37.      On January 3, 2024, OANN responded to Smartmatic’s request to meet and confer

regarding OANN’s privilege log. OANN and Smartmatic met and conferred on January 10, 2024.

       38.      During this meet and confer, Smartmatic expressed a number of concerns with

OANN’s privilege assertions, including its concern that OANN was continuing to improperly

withhold                                   REDACTED                                       .

       39.      Exhibit U is a true and accurate copy of the letter I sent to Carl Butzer on

January 18, 2024. OANN responded to certain portions of that letter on January 22, 2024, but its

response did not address Smartmatic’s concerns about documents involving            REDACTED


Smartmatic has not to date received OANN’s response to those concerns.

January 17, 2024 Meet and Confer

       40.      On January 16, 2024, OANN responded to Smartmatic’s December 22, 2023 email

rejecting OANN’s clawback attempt. On that day, OANN informed Smartmatic that it would be

filing the instant motion “for relief from Plaintiffs’ violations of the Federal Rules and the Court’s

Protective Order.” Exhibit O includes a true and accurate copy of the January 16 email from Carl

Butzer to me.

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       41.    The parties met and conferred on January 17, 2024. During this meet and confer,

Smartmatic explained its current position as expressed in the foregoing response. Smartmatic

further documented this position in an email to OANN following the parties meet and confer. See

Exhibit O. OANN responded on January 19. See Exhibit O.

       I declare under penalty of perjury that the foregoing is true and correct.

Date: February 2, 2024




                                             Caitlin A. Kovacs, Illinois Bar No. 6313273
                                             Benesch, Friedlander, Coplan & Aronoff LLP
                                             71 South Wacker Drive, Suite 1600
                                             Chicago, Illinois 60606-4637
                                             312.212.4949


                                             Attorney for Plaintiffs Smartmatic USA Corp.,
                                             Smartmatic International Holding B.V., and SGO
                                             Corporation Limited




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